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12 Loretta George
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16
                               UNITED STATES DISTRICT COURT
17
                             CENTRAL DISTRICT OF CALIFORNIA
18
                                       EASTERN DIVISION
19
20
     Loretta George,                            Case No.: 5:15-cv-01570-VAP-DTB
21
                       Plaintiff,               [PROPOSED] ORDER
22
           vs.
23
     Kohl’s Department Stores, Inc.,
24
                       Defendant.
25
26
27
28
                                                                  PROPOSED ORDER
Case 5:15-cv-01570-VAP-DTB Document 25 Filed 05/25/16 Page 2 of 2 Page ID #:98



 1
           Based on the Stipulation of counsel, the case is dismissed with prejudice, each
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     party to bear its own attorney fees and costs.
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 4
     Date:_May 25, 2016_                              ___________________________
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                                                      Judge: Hon. Virginia A. Phillips
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                                               2                            PROPOSED ORDER
